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                      UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

 Dale Ylitalo and R4 Construction,
 LLC, individually and on behalf of all
 others similarly situated,
                                          CASE.: 2:24-CV-00055-SPC-NPM
      Plaintiffs,

 v.

 Automatic Data Processing, Inc.,
 and American Century Investments
 Services, Inc.,

      Defendants.

                           MOTION TO WITHDRAW

          William B. Federman hereby submits his Motion to Withdraw

 pursuant to the Middle District of Florida Local Rule (“Local Rule”) 2.02.

 In support thereof, I state the following:

         (1)    On February 5, 2024, Mr. Robert Goodman filed my Motion

to Appear Pro Hac Vice. DE 10.

         (2)    Attached to the Motion to Appear Pro Hac Vice was a

Certification that disclosed two cases where I initially appeared in Florida

federal district courts in the past 36 months. DE 10-1.

         (3)    Due to an error by my firm, the information provided to the

Court was not up to date. We recently changed software systems and an

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updated Florida case list was not properly saved. As a result, several cases

were unintentionally left off the Certification.

      (4)    After receiving an email from opposing counsel on April 8,

2024, my firm became aware of a possible issue with my Certification.

Upon receiving the email, we began looking into the issue and the

underlying cause of the issue.

      (5)    On April 12, 2024, less than a week after my firm became

aware of the issue, opposing counsel filed a Notice Regarding Local Rule

2.01. DE 53. The Notice contains inaccurate and misleading information

regarding my Motion for Pro Hac Vice. For example, just a few short days

after my Motion for Pro Hac Vice was granted in Jacobson v. Zeroed-In

Technologies, LLC, et al., (Case No. 2:23-cv-01164-SPC-KCD) (M.D.

Fla), the case was transferred to the District of Maryland where it is being

litigated.

      (6)    Nonetheless, we have addressed the technical issue with our

system.

      (7)    Plaintiffs consent to my withdrawal as counsel in this matter.

See Exhibit 1.

      (8)    My withdrawal will not cause the continuance of any trial or

any unnecessary delay in this case.


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      (9)    Three other attorneys remain in this case to represent the

Plaintiffs including Jessica A. Wilkes of Federman & Sherwood, Robert H.

Goodman of Parrish and Goodman, PLLC, and Joseph Parrish of Parrish

& Goodman, PLLC.

      (10) These attorneys are well equipped and knowledgeable to fairly

and adequately represent Plaintiffs and the proposed class members.



Date: April 16, 2024
                                               /s/ William B. Federman
                                                William B. Federman*
                                               FEDERMAN & SHERWOOD
                                               10205 N. Pennsylvania Ave.
                                               Oklahoma City, Oklahoma 73120
                                               (405) 235-1560
                                               (405) 239-2112 (facsimile)
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                                               *Admitted pro hac vice


                          CERTIFICATE OF SERVICE

      I hereby certify that on April 16, 2024, a copy of the foregoing pleading was

filed electronically with the Clerk of Court to be served by operation of the court’s

electronic filing system to all counsel of record.


                                                 /s/ William B. Federman




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